      Case 1:15-cv-02135-TSC Document 52 Filed 11/03/17 Page 1 of 2



                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


ERLIN EVER MENCIAS AVILA,

                   Plaintiff,

v.                                                      Civil No. 15-cv-2135 (TSC)

MATTHEW DAILEY,

                   Defendant.


            PLAINTIFF’S NOTICE REGARDING ISSUES FOR TRIAL

       The Court has set a status conference for November 8, 2017, to set due dates for

motions in limine, the parties’ joint pretrial statement, the pretrial conference, and the

trial. See Minute Order of October 12, 2017. In anticipation of the status conference,

Plaintiff Erlin Ever Mencias Avila notifies the Court and Defendant Matthew Dailey of

his decision to pursue only his Fourth Amendment claim of unreasonable seizure of

property by the government, a claim on which the Court has already granted Plaintiff

partial summary judgment. Plaintiff does not intend to pursue his Fifth Amendment

procedural due process claim because it would provide no relief beyond the scope of that

available under his Fourth Amendment claim. Pursuing only the Fourth Amendment

claim will save resources by significantly shortening the time required for trial.

       Accordingly, the issues remaining for trial are: (1) whether Defendant received

“specific direction” from the United States Attorney’s Office for the District of Columbia

to continue holding Plaintiff’s van and tools following the dissipation of probable cause,

an issue on which Defendant bears the burden of proof; see Reconsideration Order,
      Case 1:15-cv-02135-TSC Document 52 Filed 11/03/17 Page 2 of 2



Doc. 47 at 6; and (2) the amount of damages, if any, owed by Defendant to Plaintiff, an

issue on which Plaintiff bears the burden of proof.

                                      Respectfully submitted,


                                      /s/ Michael T. Kirkpatrick
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November 3, 2017




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